Case 1:15-cr-00637-KAM Document 734 Filed 05/16/20 Page 1 of 9 PageID #: 23991



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,


             -against-                              MEMORANDUM AND ORDER
                                                    15-cr-637(KAM)
MARTIN SHKRELI, Defendant.
--------------------------------------X



MATSUMOTO, United States District Judge:
       On August 4, 2017, a jury convicted defendant Martin

Shkreli (“defendant” or “Shkreli”) of two counts of Securities

Fraud (Counts Three and Six) and one count of Conspiracy to

Commit Securities Fraud (Count Eight).         Verdict Sheet, ECF No.

305.   Defendant Shkreli, a healthy, 37 year old inmate who has

served 41 months of a 84-month sentence, moves for temporary or

permanent “compassionate release” from FCI Allenwood Low

pursuant to 18 U.S.C. § 3582(c)(1)(A) and the FIRST STEP Act of

2018, Pub. L. No. 115-391, 132 Stat. 5194 (2018), in light of

the COVID-19 pandemic.      See Motion to Reduce Sentence, ECF No.

729 (“Def. Mem.”).       The government opposes.     See Government’s

Opposition to Motion to Reduce Sentence, ECF No. 732 (“Gv’t

Opp.”).    On March 30, 2020, pursuant to 28 C.F.R. § 571.61(a),

defendant filed an administrative request for release with the

Bureau of Prisons alongside the instant motion.           See Def. Mem.,

                                      1
Case 1:15-cr-00637-KAM Document 734 Filed 05/16/20 Page 2 of 9 PageID #: 23992



Exhs. C & D.     On April 15, 2020, the warden of FCI Allenwood Low

denied defendant’s petition pursuant to BOP Program Statement

5050.50.    Def. Mem. 5 n.1.     Defendant is currently appealing

through the BOP’s administrative process.          Id.

        This order presumes familiarity with this court’s prior

orders in this case, in particular the February 26, 2018

Memorandum and Order denying Mr. Shkreli’s Motion for Judgment

of Acquittal and discussing the convictions and charges against

him.    Memorandum and Order (“Rule 29 Order”), ECF No. 535.           For

the following reasons, the court DENIES defendant’s motion.

   I.     Standard of Review

        18 U.S.C. § 3582(c)(1)(A)(i), the so-called “compassionate

release” statute, creates an exception to the general

prohibition against modifying “a term of imprisonment once it

has been imposed,’ 18 U.S.C. § 3582(c); but the rule of finality

is subject to a few narrow exceptions.” Freeman v. United

States, 564 U.S. 522, 526 (2011).         Pursuant to the First Step

Act, defendants may move a court to “reduce” a term of

imprisonment upon a finding that “extraordinary and compelling

reasons warrant such a reduction ... and that such a reduction

is consistent with applicable policy statements issued by the

Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A)(i).

        As a threshold matter, upon a finding of “extraordinary and

compelling circumstances,” this court has authority to reduce

                                      2
Case 1:15-cr-00637-KAM Document 734 Filed 05/16/20 Page 3 of 9 PageID #: 23993



defendant’s sentence, as over 30 days have passed since Mr.

Shkreli filed his March 30, 2020 petition with the BOP.             The

court may modify a sentence “upon motion of the defendant after

the defendant has fully exhausted all administrative rights to

appeal a failure of the Bureau of Prisons to bring a motion on

the defendant's behalf or the lapse of 30 days from the receipt

of such a request by the warden of the defendant's facility,

whichever is earlier....”       Id.   “If the BOP does not act

favorably on the defendant’s request after 30 days, the

exhaustion requirement is dispensed with and the defendant may

bring his application to the Court. If the BOP denies the

defendant’s application in fewer than 30 days, then the

defendant may immediately apply to the Court.” United States v.

Woodson, No. 18-CR-845 (PKC), 2020 WL 1673253, at *2 (S.D.N.Y.

Apr. 6, 2020).     Further, “§ 3582(c)(1)(A) does not contain an

exhaustion requirement in the traditional sense.           That is, the

statute does not necessarily require the moving defendant to

fully litigate his claim before the agency (i.e., the BOP)

before bringing his petition to court. Rather, it requires the

defendant either to exhaust administrative remedies or simply to

wait 30 days after serving his petition on the warden of his

facility before filing a motion in court.” United States v.

Haney, No. 19-CR-541 (JSR), 2020 WL 1821988, at *3 (S.D.N.Y.

Apr. 13, 2020); see also United States v. Scparta, No. 18-CR-578

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Case 1:15-cr-00637-KAM Document 734 Filed 05/16/20 Page 4 of 9 PageID #: 23994



(AJN), 2020 WL 1910481 (S.D.N.Y. Apr. 20, 2020); see also United

States v. Russo, No. 16-CR-441 (LJL), 2020 WL 1862294, at 3-4

(S.D.N.Y. Apr. 14, 2020).1

      The relevant policy statement here is U.S.S.G. § 1B1.13,

which allows the court to reduce a term of imprisonment if

“extraordinary and compelling reasons warrant the reduction,”

id. § 1B1.13(1)(A); “the defendant is not a danger to the safety

of any other person or to the community, as provided in 18

U.S.C. § 3142(g),” id. § 1B1.13(2); and “the reduction is

consistent with this policy statement.” Id. § 1B1.13(3).

      Additionally, in considering any sentence reduction, the

court must apply the 3553(a) factors, including: (1) the nature

and circumstances of the offense and the history and

characteristics of the defendant; (2) the need for the sentence

imposed to afford adequate deterrence to criminal conduct; (3)

the need for the sentence imposed to protect the public from

further crimes of the defendant; (4) the need for the sentence




1     This court is sensitive to the statutory nature of this exhaustion
requirement. However, the lower courts are divided on whether this is a
traditional exhaustion requirement or a non-jurisdictional claim-processing
rule that has no effect on the adjudicatory capacity of the courts, and
instead controls who may move for compassionate release and when. See
Scparta, 2020 WL 1910481, at *4 (citing Haney, 2020 WL 1821988, at *2.).
“Congress cannot have intended the 30-day waiting period of § 3582(c)(1)(A)
to rigidly apply in the highly unusual situation in which the nation finds
itself today.” Haney, 2020 WL 1821988, at *3. But see, e.g., United States v.
Bolino, No. 06-CR-0806 (BMC), 2020 WL 32461, at *1 (E.D.N.Y. Jan. 2,
2020)(finding that “[i]f the prison warden denies [an inmate’s] request, the
prisoner must appeal the denial through the BOP’s Administrative Remedy
Procedure.”).

                                      4
Case 1:15-cr-00637-KAM Document 734 Filed 05/16/20 Page 5 of 9 PageID #: 23995



imposed to provide the defendant with needed educational or

vocational training, medical care, or other correctional

treatment in the most effective manner; and the other sentencing

factors outlined in 18 U.S.C. § 3553(a). See 18 U.S.C. §§

3553(a)(1), (a)(2)(B)-(D), 3583(d)(1).

    II.   Discussion

      First, defendant has not demonstrated “extraordinary and

compelling” factors that would mandate his release.            FCI

Allenwood Low has zero reported cases of COVID-19 among inmates

and staff as of the date of this order.2          Defendant requests to

be released into, among other places, an apartment in New York

City, the epicenter of the COVID-19 pandemic.           It is not clear

that defendant would be able to conduct a full 14 day

quarantine, and whether he would have separate facilities in his

fiancé’s apartment, if he were to be released.           See Provisional

Death Counts for Coronavirus Disease (COVID-19), available at

https://www.cdc.gov/nchs/nvss/vsrr/covid19/index.htm (last

visited on May 16, 2020 at 10:00 a.m.).

      The court recognizes that if improperly managed, prisons

are at high risk of rapidly becoming epicenters of COVID-19. If,


2     Defendant cites to the overall COVID-19 infection rate across the BOP
system in making his argument but fails to cite to any statistics about the
status of COVID-19 infections at FCI Allenwood Low, the facility where
defendant is incarcerated, specifically. The current data suggests that
there are no reported infections at FCI Allenwood Low. See
www.bop.gov/coronavirus/index.jsp (last visited on May 16, 2020, at 11:00
a.m.); see also Gv’t Mot. 12, n.3.

                                      5
Case 1:15-cr-00637-KAM Document 734 Filed 05/16/20 Page 6 of 9 PageID #: 23996



arguendo, FCI Allenwood Low had cases of the coronavirus, a

petition may meet the “extraordinary and compelling

circumstances” prong of the analysis.         As it does not,

defendant’s petition fails this prong.         Thus, defendant has not

proven himself to be at any increased risk of catching COVID-19

at FCI Allenwood Low.

      Second, defendant has not demonstrated that a current

medical condition places him at increased risk for significant

complications from the virus.        The Attorney General identified

six criteria in his March 26, 2020 memorandum to the Director of

the Bureau of Prisons that would qualify an inmate for release

to home confinement.      See Attorney General Memorandum dated

March 26, 2020, available at

https://www.justice.gov/file/1262731/download (“A.G. Memo.”).

The first criterion is the age and vulnerability of the inmate.

Id.   The CDC has issued guidelines identifying people 65 or

older or with particular medical conditions as at “higher risk

for severe illness” resulting from COVID-19. See People Who Are

At Higher Risk, available at

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

precautions/older-adults.html (last visited May 16, 2020 at

11:00 a.m.).

      Defendant is a 37 year old man who suffers from seasonal

allergies, for which he takes Claritin, an over the counter

                                      6
Case 1:15-cr-00637-KAM Document 734 Filed 05/16/20 Page 7 of 9 PageID #: 23997



medication.3    Pre-Sentence Investigation Report, dated Dec. 12,

2017 (“PSR”), ¶ 88.      Apart from a historical note in a 2017 pre-

sentence evaluation conducted by a psychologist regarding Mr.

Shkreli’s medical history, including a childhood visit to a

hospital for asthma, Mr. Shkreli has no documented current

diagnosis or treatment for asthma.          See Sealed Report, dated

Feb. 8, 2018, at 2, ECF No. 525.          There are no medical reports

from defendant’s time in BOP custody, or from any time in his

recent past, indicating that his asthma continues to pose a

significant problem.      Indeed, defendant himself failed to

mention asthma in his March 30, 2020 petition with the BOP.              The

government suggests that given the defendant’s conviction for

perpetrating falsehoods, defendant’s late claim that he suffers

from asthma is yet another fabrication.          Gv’t Mot. at 29.     The

court makes no such determination, but finds that because the

defendant is considerably younger than the CDC guideline for

“higher risk” individuals, and does not currently suffer from an

existing medical condition that would place him into a high risk

category, defendant has not demonstrated that he is at a higher

risk for the adverse outcomes of COVID-19 in a facility with no

reported cases among inmates.        Though the court may properly end


3     According to the Probation Department, “BOP medical records last note
the defendant’s self-reported seasonal allergies in September 2017, at which
time his over-the-counter allergy medication was discontinued and the
defendant was referred to the prison commissary to obtain the medication.”
Probation Resp. at 1, ECF No. 731.

                                      7
Case 1:15-cr-00637-KAM Document 734 Filed 05/16/20 Page 8 of 9 PageID #: 23998



its analysis here, the 3553(a) factors also weigh against

defendant’s release.

       All Section 3553(a) factors weigh against defendant’s

release.    Defendant received his sentence based on the court’s

analysis of these factors, and the court’s consideration remains

consistent.    First, with regard to the nature and circumstances

of his offenses, defendant intentionally deceived and

manipulated individual and public investors, and before

sentencing, made disparaging remarks about the government and

the sentencing process that showed little regard for the rule of

law.    Second, a sentence of 84 months was deemed necessary to

reflect the seriousness of the offense, promote respect for the

law, and deter future criminal conduct, given the defendant’s

disregard for the law.      Reducing Mr. Shkreli’s sentence by half

would not further the goals of 3553(a).          Third, the court does

not find that releasing Mr. Shkreli will protect the public,

even though Mr. Shkreli seeks to leverage his experience with

pharmaceuticals to help develop a cure for COVID-19 that he

would purportedly provide at no cost.         The Probation Department

asserts that Mr. Shkreli’s claim that he can develop a cure for

COVID-19 that has “so far eluded the best medical and scientific

minds in the world working around the clock” is the type of

“delusional self-aggrandizing behavior” that precipitated the

offenses for which he was properly convicted.           See Probation

                                      8
Case 1:15-cr-00637-KAM Document 734 Filed 05/16/20 Page 9 of 9 PageID #: 23999



Response at 2, ECF 731.       In any event, Mr. Shkreli’s self-

described altruistic intentions do not provide a legal basis to

grant his motion.      Finally, the court provided its original

sentence after considering all of the 3553(a) factors, including

the defendant’s needs for correctional treatment, something he

would not receive if the sentence were reduced.

   III. Conclusion

      Defendant is a healthy, 37 year old man with no recent

history of preexisting medical conditions that place him at

higher risk for COVID-19 and its potentially life-threatening

adverse effects, and he is confined in a facility where there

are currently no cases of COVID-19.         In addition, the

sophisticated nature of Mr. Shkreli’s offenses and the

fulfillment of the goals of sentencing all counsel against

granting the motion for a reduced sentence.          Defendant’s motion

to reduce his sentence is respectfully DENIED.




SO ORDERED.


Dated:      May 16, 2020
            Brooklyn, New York


                                          _________/s/_________________
                                          HON. KIYO A. MATSUMOTO
                                          United States District Judge
                                          Eastern District of New York

                                      9
